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      Exhibit 1 to Defendants' Opposition to Plaintiff's Motion to Permit
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       Exhibit 1 to Defendants' Opposition to Plaintiff's Motion to Permit
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